
By the Court.
— This was a reasonable fair transaction. If the justice had made an after-entry in this manner, contrary to the truth, it would not only have been error, hut the justice would have been liable to severe animadversion for his corrupt conduct
The counsel for the plaintiff observed, that if this practice was permitted, injustice would be frequently done to plaintiff’s in certiorari, who were induced to bring eertioruris from errors apparent on the justice’s docket; which writs were subjected to be defeated by subsequent entries of the justice, and the plaintiffs thereby saddled with bilis of costs.
Pennington, J.
— I have considered that subject; there is nothing in it. The parties know how the truth is; and if a party will bring a certiorari where there is in fact no error in the proceedings of the justice, merely because the justice has omitted to enter the whole of the proceedings in his docket, it is of little consequence how much costs he has to pay. It is his own folly, to say the least of it.
Judgment affirmed.
